
RESOLUCIÓN
El Tribunal Supremo designa a la Leda. Heidi Claudio Rosario como Compiladora y Publicista del Tribunal Supremo, efectivo inmediatamente. La licenciada Claudio Rosario desempeñará sus funciones a tenor con las disposiciones que regulan el funcionamiento de la Oficina de la Compiladora y Publicista.

Publíquese.

Lo acordó el Tribunal y certifica la Secretaria del Tribunal Supremo. La Juez Asociada Señora Rodríguez Rodríguez no intervino.
(.Fdo.) Aida Ileana Oquendo Graulau

Secretaria del Tribunal Supremo

